









Petition for Writ of Mandamus Denied and Opinion filed September 19,
2002









Petition for Writ of Mandamus Denied and Opinion filed
September 19, 2002.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-02-00946-CV

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&nbsp;

IN RE THOMAS NEVEU, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

O P I N I O N

On September 16, 2002, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2002);&nbsp; see also
Tex. R. App. P. 52.

We deny relator=s petition for writ of mandamus.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Opinion filed September 19, 2002.

Panel consists of
Justices Yates, Anderson, and Frost. 

Do Not Publish ‑ Tex. R. App. P. 47.3(b).





